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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PROGRESSIVE MOUNTAIN                )
INSURANCE COMPANY,                  )
                                    )
                                    )
     Petitioner,                    )                     Civil Action File No.:
                                    )                     1:20-CV-01665-JPB
v.                                  )
                                    )
MOBILE MAINTENANCE ON THE           )
GO, LLP, HELENE JULIEN,             )
BRANDON DONALD, and                 )
JESSE ESPINOZA                      )
                                    )
                                    )
     Respondents.                   )
____________________________________)

ANSWER OF RESPONDENTS’ HELENE JULIEN AND JESSE ESPINOZA

      COME NOW, Respondents Helene Julien and Jesse Espinoza and makes this

Answer to Petitioner’s Petition for declaratory judgment, as Amended on June 1,

2020, as follows:

                                          1.

      Respondents are presently without knowledge of information sufficient to

respond of allegations contained in paragraph 1, and therefore paragraph 1 is denied.




                                         1
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                                          2.

      Respondents are presently without knowledge of information sufficient to

respond of allegations contained in paragraph 2, and therefore paragraph 2 is denied.

                                          3.

      Admitted. Julien has acknowledged service in this case, through counsel W.

Winston Briggs, Esq.

                                          4.

      Respondents are presently without knowledge of information sufficient to

respond of allegations contained in paragraph 4, and therefore paragraph 4 is denied.

                                          5.

      Admitted. Espinoza has acknowledged service in this case, through counsel

W. Winston Briggs, Esq.

                                          6.

      Respondents are presently without knowledge of information sufficient to

respond of allegations contained in paragraph 6, and therefore paragraph 6 is denied.

                                          7.

      Admitted.

                                          8.

      Admitted.

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                                        9.

      Admitted.

                                        10.

      Paragraph 10 requires no response by these Respondents.

                                        11.

      Admitted.

                                        12.

      On information and belief, admitted.

                                        13.

      Admitted.

                                        14.

      Admitted.

                                        15.

      Admitted.

                                        16.

      These Respondents admit Julien sustained severe injuries as reflected in her

medical records.

                                        17.

      These Respondents admit the policy in question was issued as stated.

                                        3
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                                         18.

      Admitted.

                                         19.

      Denied

                                         20.

      These Respondents admit that the quoted language appears in the policy in

question.

                                         21.

      Respondents hereby incorporate paragraphs 1-20 of their answer as if fully set

forth herein.

                                         22.

      These Respondents admit the quoted language is in the policy in question.

                                         23.

      Denied.

                                         24.

      These Respondents admit Julien was a pedestrian when she was hit by Donald.

                                         25.

      Denied.




                                         4
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                                          26.

      Paragraph 26 requires no response by these Respondents.

                                          27.

      Respondents hereby incorporate paragraphs 1-26 of their answer as if fully set

forth herein.

                                          28.

      The policy in question speaks for itself as to what it provides. To the extent

a response is required paragraph 28 is denied.

                                          29.

      Denied.

                                          30.

      Admitted.

                                          31.

      Denied.

                                          32.

      Paragraph 32 requires no response by these Respondents.


      WHEREFORE these Respondents request that this Court declare that the

policy in question provides coverage to Julien for the Subject Accident. Any

allegations not specifically admitted are denied.

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     Respectfully submitted this 29th day of July 2020.




                                    W. WINSTON BRIGGS LAW FIRM


                                    /s/ W. Winston Briggs
                                    W. Winston Briggs
                                    State Bar of Georgia No.: 081653
                                    Attorney for Respondents Helene Julien and
                                    Jessie Espinoza

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              CERTIFICATION OF FONT TYPE AND SIZE

     The undersigned counsel hereby certifies that the foregoing has been prepared

with Times New Roman 14-Point Font, as approved in LR 5.1C.



           Respectfully submitted this 29th day of July 2020.



                                     W. WINSTON BRIGGS LAW FIRM



                                     /s/ W. Winston Briggs
                                     W. Winston Briggs
                                     State Bar of Georgia No.: 081653
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day served a copy of the within and

foregoing Answer of Respondents’ Helene Julien and Jesse Espinoza with the

Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to the following counsel of record:

                               Ms. Erica Parsons, Esq.
                                3535 Piedmont Road
                               Building 14, Suite 205
                               Atlanta, Georgia 30305



      Respectfully submitted this 29th day of July 2020.




                                        W. WINSTON BRIGGS LAW FIRM


                                        /s/ W. Winston Briggs
                                        W. Winston Briggs
                                        State Bar of Georgia No.: 081653
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                                        Espinoza

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